        Case 4:18-cv-00275-SWW Document 26 Filed 08/15/18 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

ARTHUR CARSON, PLAINTIFF,

V.                                           CASE NO. 4:18-CV-00275 SWW

LL UNIVERSITY LLC, ET AL., DEFENDANTS.



                     PLAINTIFF'S AMENDED ADDRESS FOR SERVICE
                         ON DEFENDANT RUSSELL COMSTOCK

TO THE HONORABLE JUDGE OF SAID COURT:

 In accordance with this Court's Order of August 13, 2018, (Docket NO. 23), Directing

The U.S. Marshal to Serve Summons and Complaint on Russell Comstock, Plaintiff has

An update for His address at His Current Employment:

Russell Comstock,@ Mark Mclarty Toyota, Finance Manager, 4336 Landers Rd., North

Little Rock, AR 72117

RESPECTFULLY SUBMITTED,
     ~      c~
Arthur Carson
                               .
                                    CERTIFICATE OF SERVICE:

 I, Arthur Carson, certify, that a copy of the foregoing Amended Address for Service On
Russell Comstock, is hereby mailed to: Daniel Carter, Attorney for LL University LLC, this
14th day of August, 2018, by placing same in the U.S. Mail this day.
 I ~w~ the foregoing statements are true and correct.
 ~           r~ .               .
Arthur Carson
2000 Rice St
Little Rock, AR 72202

                                           (Solo-pg)
